       Case 2:24-cr-00091-ODW     Document 79       Filed 06/06/24   Page 1 of 8 Page ID #:1183




 11| DAVID Z. CHESNOFF, ESQ.
 ^ II Pro Hac Vice
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 61 Telephone: (702) 384-5563
 71| dzchesnoff@cslawoffice.net
        rschonfeld@cslawoffice.net
        Attorneys for Defendant, ALEXANDER SMIRNOV
 9|
101| UNITED STATES DISTRICT COURT
^ ^ II CENTRAL DISTRICT OF CALIFORNIA

121 UNITED STATES OF AMERICA, )
131                                      )
141 Plaintiff, )
                                            ) CASEN0.2:24-CR-00091-ODW
        V.                            )
161                                      )
171 ALEXANDER SMIRNOV, )

isll                 _        .      .   )


191 _)
                          Defendant, )


20
2i || DEFENDANT'S EXPARTE MOTION FOR AN ORDER SHORTENING
        TIME TO BE HEARD ON DEFENDANT'S MOTION TO REOPEN
221| DETENTION HEARING AND IMPOSE CONDITIONS OF PRETRIAL
23 || RELEASE (DKT 75)
24 I
      || COMES NOW, Defendant, ALEXANDER SMIRNOV ("Mr. Smimov"), by

261| and through his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A.

      || SCHONFELD, ESQ, of the law firm ofCHESNOFF & SCHONFELD and hereby
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                                                1
       Case 2:24-cr-00091-ODW   Document 79     Filed 06/06/24   Page 2 of 8 Page ID #:1184




 1 || Submits his Ex-Parte Motion for an Order Shortening Time to be Heard on his
 2
       IVIotion to Reopen Detention Hearing and Impose Conditions of Release (Dkt 75).
 3
 41| The Hearing is currently scheduled for June 24, 2024, at 10:00m and the

 5 ]| Motion will be fully briefed by June 7, 2024.
 6
             This Motion is made and based upon the papers and pleadings on file herein,
 7
 § and the attached Memorandum of Points and Authorities.

 91| Dated this 6th day of June, 2024.
10]
                                            Respectfully Submitted:


121| CHESNOFF & SCHONFELD
13
^41 /s/ David Z. Chesnoff
       DAVID Z. CHESNOFF, ESQ.
151 —^————,
                                            Pro Hac Vice
161| RICHARD A. SCHONFELD, ESQ.
171 California Bar No. 202182
                                            520 South Fourth Street
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201] rschonfeld@cslawoffice.net
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                                            Attorneys for Defendant
221| ALEXANDER SMIRNOV
23

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26 I
27 I
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       Case 2:24-cr-00091-ODW      Document 79        Filed 06/06/24   Page 3 of 8 Page ID #:1185




 11| MEMORANDUM OF POINTS AND AUTHORITIES
 2
             Mr. Smirnov filed his Motion to Reopen Detention Hearing and Impose

 41| Conditions of Release on May 24, 2024 (Dkt 75). Mr. Smirnov filed a Supplement

 5 || to that Motion on May 31, 2024 (Diet 76). The Government filed its Opposition on
 6|
       May 31, 2024 (Dkt 77). Mr. Smimov will be filing his Reply no later than June 7,

 8 || 2024,and the IVIotion will then be fully briefed.

             Mr. Smimov is respectfully requesting that the hearing on the Motion be
10|
       advanced for the following reasons:


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           1. Mr. Smimov still has not received the medically necessary eye surgery, that
13
             this Honorable Court believed was going to take place before the end of

15 I May, 2024;
16
Y] || 2. Mr. Smimov was transferred from the Santa Ana Jail to the MDC, where is

18 || he now housed in the Special Housing Unit ("SHU"). That housing
19 I
              designation has drastically limited his ability to prepare his defense in this
20 I
-^ |[ case. Mr. Smimov has repeatedly requested legal calls that have not been


22 provided, during in person attorney visits Mr. Smirnov is shackled and

23
              documents have to be passed through a partition, counsel is not permitted to
24 I
25 || bring a laptop computer to visits thereby denying Mr. Smirnov the ability to

261| review the voluminous electronic discovery that has been produced, and Mr.

27 I
              Smimov can no longer communicate with counsel by email. As a result, it is
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                                                  3
       Case 2:24-cr-00091-ODW      Document 79        Filed 06/06/24   Page 4 of 8 Page ID #:1186




 ^ respectfully submitted that Mr. Smirnov cannot effectively assist his counsel

 2|
              in preparing the defense of his case.
 3
 41[ These circumstances warrant a hearing on an expeditious basis, and


 5 therefore it is respectfully requested that this Honorable Court advance the hearing
 6
        on the IVIotion to Reopen the Detention Hearing. The Motion at Dkt 75 sets forth
 7
 g || the detailed basis upon which Mr. Smirnov is renewing his request for pretrial

 91 release.

10|
              Counsel Chesnoff communicated with counsel for the United States and they
11
12 II Oppose this Motion and further assert that no hearing should be held on Mr.

     || Smirnov's Motion to Reopen the Detention Hearing.
14
              DATED this 6th day of June, 2024.


161| Respectfully Submitted:

17 I
                                               CHESNOFF & SCHONFELD
18

19 I /s/David Z. Chesnoff
201| DAVID Z. CHESNOFF, ESQ.
                                               Pro Hac Vice
2 1 RICHARD A. SCHONFELD, ESQ.
221| California Bar No. 202182
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                                               rschonfeld@cslawoffice.net
261| dzchesnoff@cslawoffice.net
^ ]] Attorneys for Defendant
                                               ALEXANDER SMIRNOV
28 I
                                                  4
      Case 2:24-cr-00091-ODW     Document 79     Filed 06/06/24   Page 5 of 8 Page ID #:1187




 11 DECLARATION OF COUNSEL
2|
             I, David Z. Chesnoff, do hereby declare that the following statements are


41| true and correct:

 5
 Q I 1. I am co-counsel of record for Defendant Alexander Smirnov in this case;


 7 2. The assertions in the underlying Ex Parte IVIotion are true and correct to the

 8|
       best of my knowledge and belief.
 9|
^01| 3. Undersigned counsel conferred with counsel for the government via email


111] and were unable to resolve this request.
12
          4. Undersigned counsel has also notified counsel for the government via email
13
^4 [| of the filing of this Ex Parte Motion. Specifically, the following counsel for the

^ government are being notified by email of this Motion:
16
          Derek Edward Hines
171| US Department of Justice
^§ II Office of Special Counsel David C. Weiss
       950 Pennsylvania Avenue NW Room B-200
191 Washington, DC 20530
201 771-217-6091
          Email: deh@usdoj.gov
21
22 || Leo J. Wise
       US Department of Justice
23 Office of Special Counsel David C. Weiss
24 ]| 950 Pennsylvania Avenue, NW, Room B-200
       Washington, DC 20530
251| 771-217-6091
261| Email: LJW@USDOJ.GOV
27

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       Case 2:24-cr-00091-ODW      Document 79     Filed 06/06/24   Page 6 of 8 Page ID #:1188



 1
 ^ || Christopher Michael Rigali
           Office of Special Counsel, U.S. Dept. of Justice
 3 || 950 Pennsylvania Avenue NW, Room B-200
 4|| Washington, DC 20530
           202-616-2652
 5 || Email: christopher.rigali2@usdoj.gov
 6|
       Sean F Mulryne
 7 Office of the Special Counsel - Weiss
 § || 950 Pennsylvania Avenue NW, Room B-200
       Washington, DC 20530
 9 N 202-430-4880
101 Email: sfm@usdoj.gov

111 I declare under penalty of perjury under the laws of the United States of
12
        America that the foregoing is true and correct.
13
141| Executed on this 6th day of June, 2024.

15 I

161| /s/ David Z. Chesnoff
171| DAVID Z. CHESNOFF
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       Case 2:24-cr-00091-ODW     Document 79    Filed 06/06/24   Page 7 of 8 Page ID #:1189




 11| CERTIFICATE OF SERVICE
 2
              I hereby certify that on this 6( day of June, 2024, I caused the forgoing

 41| document to be filed electronically with the Clerk of the Court through the CM/ECF

        system for filing; and served on counsel of record via the Court's CM/ECF system.
 6]
 7|
                                       /s/ Camie Linnell
                                       Employee ofChesnoff& Schonfeld
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       Case 2:24-cr-00091-ODW   Document 79     Filed 06/06/24   Page 8 of 8 Page ID #:1190



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 2]
 3
 41| UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 5          ||           *      *     *         *

 61 UNITED STATES OF AMERICA, )

 71| Plaintiff, )
 g I ) CASEN0.2:24-CR-00091-ODW
                                            )
 1                               )
1 ol ALEXANDER SMIRNOV, )




12 || _)
111 Defendant, ) [PROPOSED] ORDER


     || Upon reviewing Defendant's Ex Parte Motion for an Order Shortening Time
14 I
        to be heard on his Motion to Reopen Detention Hearing and Impose Conditions of

161| Release (Dkt 75), and with good cause appearing, said Motion is GRANTED, as

        follows below.
18
              The Court ORDERS that the hearing on Defendant's Motion
19 I
201| currently scheduled for June 24, 2024, at 10:00am is hereby advanced so that the

        Motion will be heard on the _ day of June, 2024, at the hour of_.
22 I
              IT IS SO ORDERED.
23

24 II Dated:

25

261| Honorable Otis D. Wright II
                                      United States District Judge


28|
